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		OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
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				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2018 OK 45Case Number: SCBD-6660Decided: 06/04/2018THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2018 OK 45, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2017




ORDER OF SUSPENSION FOR FAILURE TO COMPLY WITH THE 
RULES FOR MANDATORY CONTINUING LEGAL EDUCATION


On May 22, 2018, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of members who failed to comply with mandatory legal education requirements for the year 2017 as required by Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education (MCLE Rules), 5 O.S. 2011, ch. 1, app. 1-B. The Board of Governors recommended the members, whose names appear on Exhibit A attached to the Application, be suspended from membership in the Oklahoma Bar Association and prohibited from the practice of law in the State of Oklahoma, as provided by Rule 6 of the MCLE Rules.

This Court finds that on March 15, 2018, the Executive Director of the Oklahoma Bar Association mailed, by certified mail to all Oklahoma Bar Association members not in compliance with Rules 3 and 5 of the MCLE Rules, an Order to Show Cause within sixty days why the member's membership in the Oklahoma Bar Association should not be suspended. The Board of Governors determined that the Oklahoma Bar Association members named on Exhibit A of its Application have not shown good cause why the member's membership should not be suspended.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from Oklahoma Bar Association membership and shall not practice law in this state until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to comply with the MCLE Rules for the year 2017.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 4TH DAY OF JUNE, 2018.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.




EXHIBIT A
(MCLE - Suspension)

Brent Douglas Berry, OBA No. 18013
West Ylla Gosney Law Firm
8 S.W. 89th St., Suite 200
Oklahoma City, OK 73139

Justin Michael Blumer, OBA No. 32157
P.O. Box 2006
Mannford, OK 74044

Michael Burleson Bush, OBA No. 21123
2724 N.W. 158th St.
Edmond, OK 73013

Jade Caldwell, OBA No. 31820
12316A N. May Ave., Ste. 216
Oklahoma City, OK 73120

Charlotte Linn Claborn, OBA No. 21139
P.O. Box 13
Stonewall, OK 74871-0013

Tai Chan Du, OBA No. 30784
3324 North Classen Boulevard
Oklahoma City, OK 73118

John Thomas Green, OBA No. 32944
1101 7th St.
Pawnee, OK 74058-4049

David Levi Hanes, OBA No. 22580
2853 Ridge Drive
Broomfield, CO 80020

Michael G. Harris, OBA No. 3903
9401 Forest Hollow Crt.
Oklahoma City, OK 73151

Mark Kelly Hunt, OBA No. 32019
1408 S. Denver Ave.
Tulsa, OK 74119

Katherine Eileen Koljack, OBA No. 31123
1543 Southwest Blvd., Apt. 9J
Tulsa, OK 74107

Joel Lawrence Kruger, OBA No. 5128
P.O. Box 35889
Tulsa, OK 74153-0889

Carl O. LaMar, OBA No. 18203
P.O.Box 357
Duncan, OK 73534

Anthony C. Liolios, OBA No. 32050
1300 S.W. Park Avenue, Apt. 210
Portland, OR 97201

Nathan Andrew McCaffrey, OBA No. 20090
112 N.E. Fourth St.
P.O. Box 1739
Guymon, OK 73942

James Lloyd Menzer, OBA No. 12406
211 W. Blackwell Ave.
P.O. Box 818
Blackwell, OK 74631-0818

Steven Paul Minks, OBA No. 32077
404 Dewey Ave.
Poteau, OK 74953

Jason K. Moore, OBA No. 30652
205 Ridge Lake Blvd.
Norman, OK 73071

Ryan Steven Wiehl, OBA No. 32893
2202 E. 49th St., Ste. 400
Tulsa, OK 74105





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